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                                     United States v. Mitchell Stein
                                      Defendant’s Exhibit List
                                               7/20/2018

  EXHIBIT                         DESCRIPTION                                    BATES RANGE
  NUMBER
                                                                         USA-MS-0000005957 -
    DX01    Signalife Form 10Q filed 5-15-08
                                                                         USA-MS-0000006008
                                                                         USA-MS-0000006009 -
    DX02    Signalife Form 10Q filed 8-15-08
                                                                         USA-MS-0000006054

    DX03    Biosig Form S-1 filed 06.08.2017                             N/A

            BSGM - BioSig Technologies Inc Company Profile -
    DX04                                                                   N/A
            CNNMoney.com
            Budimir Drakulic Inventions, Patents and Patent Applications -
    DX05                                                                   N/A
            Justia Patents Search
            Budimir S. Drakulic Ph.D. Executive Profile & Biography -
    DX06                                                                   N/A
            Bloomberg

    DX07    Caselaw (Eagletech Communications Inc v Citigroup Inc)       N/A

            Caselaw (Merrill Lynch Pierce Fenner And Smith Inc v
    DX08                                                                 N/A
            Manning)

    DX09    Caselaw (US v Gilbert)                                       N/A

    DX10    Caselaw (US v Mulheren)                                      N/A

    DX11    Caselaw (US v Stein) (1972)                                  N/A

    DX12    Christian and Shapiro Expert Reports (4.6.18)                N/A

    DX13    Edward O'Neal Expert Report (4.6.18)                         N/A

    DX14    Edward O'Neal Rebuttal Report (5.10.18)                      N/A

    DX15    Expert Report of Dr. Robert Shapiro                          N/A

    DX16    Graphic Chart (47 MM Hidden Shares Relate Back)              N/A

    DX17    Graphic Chart (Fails Plus Hidden Shares)                     N/A

    DX18    Graphic Chart (Fails Plus Hidden Shares, Stacked View)       N/A

    DX19    List of Regulatory Actions                                   N/A

    DX20    List of Stock Fraud Cases Handled by JWC                     N/A

    DX21    Email from DOJ Hard Drive Re Kenneth Londoner                NS-SEC-0033425
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  EXHIBIT                         DESCRIPTION                                  BATES RANGE
  NUMBER
    DX22    Opinion and Order (SEC v Citigroup)                          N/A

    DX23    Order (In Re Goldman Sachs)                                  N/A

    DX24    Order (In Re Merrill Lynch)                                  N/A

            AMEX Notifies Signalife that It Will Need to Comply with
    DX25                                                                 N/A
            Minimum Requirement (2008.01.14)
            08.08.08 Press Release announcing Intent to Withdraw from
    DX26                                                                 N/A
            AMEX and Trade on the OTCBB

    DX27    07.11.2008 Press Release Signalife Board Approves Merger     N/A

            11.26.2007 Press Release Signalife Receives FDA Clearance
    DX28                                                                 N/A
            for OTC Non-Prescription Event Recorder Device
            03.17.2008 Press Release Signalife Sees Accretive Purchase
    DX29                                                                 N/A
            and Financial Commitments
            03.25.2008 Press Release Signalife Wins More Business;
    DX30                                                                 N/A
            Actively Shipping Orders
            05.08.18 Press Release (Sim Fara Joins BioSig Technologies
    DX31                                                                 N/A
            Advisory Board)

    DX32    12.15.15 Press Release (JP Morgan Fined)                     N/A

            01.15.2016 Press Release (Schwab Naked Short Selling
    DX33                                                                 N/A
            Scheme)

    DX34    Rebuttal Report of Dr. Hayter (5.10.2018)                    N/A

    DX35    Rebuttal Report of James Wes Christian 5.10.18               N/A

    DX36    Regulatory Letter of Acceptance No. 20080144511              N/A

    DX37    Regulatory Letter of Acceptance No. 20080144512              N/A

    DX38    Regulatory Letter of Acceptance No. 20080151992-01           N/A

    DX39    Regulatory Letter of Acceptance No. 20100229712              N/A

            SEC Statement: What the SEC Really Did on Short Selling;
    DX40                                                                 N/A
            “Op-Ed” for the Wall Street Journal (July 24, 2008)

    DX41    Sim Farar Executive Profile & Biography - Bloomberg          N/A

    DX42    Uncle Mills Partners Composite Exhibit                       0001-0107


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  EXHIBIT                        DESCRIPTION                            BATES RANGE
  NUMBER
            Video Presentation (SEC Chairman Cox on Naked Short
    DX43                                                          N/A
            Selling)

    DX44    Wes Christian CV                                      N/A

                                                                  USA-MS-0000007406-
    DX45    Memorandum of Interview - Jamie Carpenter             USA-MS-0000007407
                                                                  USA-MS-0000007416-
    DX46    Memorandum of Interview - Mark Taylor                 USA-MS-0000007417

    DX47    Memorandum of Interview - Matthew Small               USA-MS-0000007415

    DX48    Memorandum of Interview - Richard Albrecht            USA-MS-0000007404

    DX49    Memorandum of Interview - Richard Faust               USA-MS-0000007408

                                                                  USA-MS-0000007409-
    DX50    Memorandum of Interview - Ron McMahon                 USA-MS-0000007410
                                                                  USA-MS-0000007983-
    DX51    Victim Impact Statement - Mark Lundberg               USA-MS-0000007990
                                                                  USA-MS-0000007999-
    DX52    Victim Questionnaire - Calvin Compton                 USA-MS-0000008000
                                                                  USA-MS-0000007993-
    DX53    Victim Questionnaire - David Williamson               USA-MS-0000007994
                                                                  DOJ-Other Victims_000042-
    DX54    Victim Questionnaire - Edward Bavolar                 DOJ-Other Victims_000043
                                                                  USA-MS-0000008025-
    DX55    Victim Questionnaire - Elaine Berdy                   USA-MS-0000008028
                                                                  USA-MS-0000007991-
    DX56    Victim Questionnaire - Francis Ettenhofer             USA-MS-0000007992
                                                                  DOJ-Other Victims_000085-
    DX57    Victim Questionnaire - Jerry Hathaway                 DOJ-Other Victims_000087
                                                                  USA-MS-0000008001-
    DX58    Victim Questionnaire - John Staiao                    USA-MS-0000008002

    DX59    Victim Questionnaire - Justin Benscoter               USA-MS-0000007405

                                                                  DOJ-Other Victims_000006-
    DX60    Victim Questionnaire - Lucas Lackner                  DOJ-Other Victims_000016
                                                                  USA-MS-0000007997-
    DX61    Victim Questionnaire - Mark Soltz                     USA-MS-0000007998
                                                                  DOJ-Other Victims_000389-
    DX62    Victim Questionnaire - Mark Taylor                    DOJ-Other Victims_000390
                                                                  USA-MS-0000008003-
    DX63    Victim Questionnaire - Martin Goldstein               USA-MS-0000008004

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  EXHIBIT                       DESCRIPTION                               BATES RANGE
  NUMBER
                                                                    DOJ-Other Victims_000095-
    DX64    Victim Questionnaire - Melody Jean Gray-Johnson         DOJ-Other Victims_000096
                                                                    USA-MS-0000007995-
    DX65    Victim Questionnaire - Michael Botte                    USA-MS-0000007996
                                                                    DOJ-Other Victims_000101-
    DX66    Victim Questionnaire - Timothy Straker                  DOJ-Other Victims_000102
                                                                    DOJ-Other Victims_000045-
    DX67    Victim Questionnaire - Tracy Jean Jones                 DOJ-Other Victims_000046

    DX68    O’Neal Demonstrative Exhibit                            N/A

            Apr. 28, 2008 Email from Dr. L. Harmison to
    DX69                                                            HARMISON_00391859
            M.Stein.Administration re trip to SGN
    DX70    Taylor Blue Sheet Data (excerpt from GX 22)             N/A

            The Econometrics of Financial Markets, Campbell et. al.,
    DX71                                                             USA-MS-0000000162
            ch. 4.
    DX72    Signalife Stock Price 4-1-08 through 4-15-08            N/A

    DX73    Apr. 30, 2008 Email from P. Melley re Bullet Points     USA-MS-0000008187-8189
            List of Investor Loss Accounts with Value of Total    N/A
    DX74    Remaining Shares – Relevant Period (adapted from GX
            40)
            List of Investor Loss Accounts with Value of Total    N/A
    DX75
            Remaining Shares - Narrow Period (adapted from GX 41)
                                                                    N/A
    DX76    Memorandum of Interview - Jamie Carpenter - 7.18.2018




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